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UNITED STA TES DISTRICT COURT

DISTRICT OF NEW JERSEY

 

FRANK BRETT ORDER ON APPLICATION
Plaintiff, TO PROCEED WITHOUT
PREPAYMENT OF FEES

BURDETT TOMLIN MEMORIAL HOSPITAL, ET AL.
Defendant. Case Number: 11-2323 (NLH-AMD)

Having considered the application to proceed without prepayment of fees under 28 U.S.C.§ 1915;

IT IS ORDERED that the application is:

|I| GRANTED, and
m The clerk is directed to file the complaint, and

l:] IT IS FURTHER ORDERED that the clerk issue summons and the United States marshal

serve a copy of the complaint, summons and this order upon the defendant(s) as directed by
the plaintiff. All costs of service shall be advanced by the United States.

N DENIED, for the following reasons:,_T_lQ a(h,,f)lo.\:./\" w {`s §"§7;§@ Cv

%nd the Clerk is directed to close the file.

 

 

Plaintiff may submit a filing fee of $350.00 within 30 days from the date of this order ro reopen the case.

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Signature of Judicial Ofl`lcer

 

 

Name and Title of Judicial Officer

